                   Case 3:19-cr-04445-H Document 13 Filed 11/07/19 PageID.16 Page 1 of 3
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                                                                             CLERK, U.S. DISTRICT COURT
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        8
                                              UNITED STATES DISTRICT COURT
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                                           SOUTHERN DISTRICT OF CALIFORNIA
    10

    11           UNITED STATES OF AMERICA,                      Case No.      '19 CR4445 H

    12                           Plaintiff,                     I N F O R MA T I O N

    13                v.                                        Title 18, U.S.C., Secs. 922 (g) (1)
                                                                - Felon in Possession of a
    14                                                          Firearm; Title 21, U.S.C., Sec.
                NATIVIDAD CHRISTIAN ORTIZ,                      841 (a) (1) - Possession of
    15                                                          Methamphetamine and Fentanyl with
                                                                Intent to Distribute; Title 18,
    16                           Defendant.                     U.S.C., Sec. 924(d), Title 28,
                                                                U.S.C., Sec. 246l(c) and Title 21,
    17                                                          U.S.C., Sec. 853 - Criminal
                                                                Forfeiture
    18
    19          The United States Attorney charges:

    20                                                     Count 1

    21               On     or    about   August   25,    2019, .within     the     Southern         District   of

    22          California,       defendant NATIVIDAD CHRISTIAN ORTIZ,              knowing his status as

    23          a convicted felon,         that is,      a person having been previously convicted

    24          of a crime punishable by imprisonment for a term exceeding one year; did

    ? -~        knowinql v possess· a         firearm that traveled in and affected interstate

    26          commerce,    to wit:      a Savage Arms, model 107B,          16 gauge shotgun bearing

    27          no serial number.

    28


                MJS:San Diego:10/14/19
           Case 3:19-cr-04445-H Document 13 Filed 11/07/19 PageID.17 Page 2 of 3




 1                                                              Tounc --z

 2           On    or        about      August        25,       2019,          within     the    Southern       District      of

 3   California,             defendant           NATIVIDAD         CHRISTIAN             ORTIZ,    did     knowingly         and

 4   intentionally possess, with intent to distribute a mixture and substance

 5   containing          a         detectable        amount       of       a    methamphetamine,           a    Schedule      II

 6   Controlled              Substance,             and     a    mixture           and     substance           containing      a

 7   detectable              amount            of      N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

 8   propanamide (Fentanyl), a Schedule II Controlled Substance, in violation

 9   of Title 21, United States Code, Section 841 (a) (1)

10                                                  FORFEITURE ALLEGATION

11           1.     The allegations contained in Counts 1-2 are realleged and by

12   its    reference              fully       incorporated herein                  for    the    purpose of        alleging

13   forfeiture to the United States of America pursuant to the provisions

14   of Title 18, United States Code, Sections 924 (d), Title 28, United States

15   Code, Section 2461(c), and Title 21, United States Code, Section 853.

16           2.     As a result of the commission of the felony offense alleged

17   in    Count    1        of     this       Information,         said violation                being punishable            by

18   imprisonment for more than one year and pursuant to Title 18,                                                       United

19   States Code,             Section 924(d)                and Title 28,            United States Code,                Section

20   2461 (c),      defendant               NATIVIDAD           CHRISTIAN          ORTIZ,       shall     forfeit       to   the

21   United States,                 all firearms and ammunition involved in the commission

22   of the offense,                 including but not limited to the following:                                    a    Savage

23   Arms,    model 107B,                i6 gauge shotgun bearing no serial number;                                     and ten

24   rounds of shotgun ammunition.
                    71   ~    "'    r<>sml t    of the commission of the felonv offense alleaed
                                                                                                                                   ...



26   in    Count    2        of      this      Indictment,          said         violation        being    punishable         by

27   imprisonment for more than one year and pursuant to Title 21,                                                       United

28   States       Code,            Sections         853 (a) (1)     and          853 (a) (2),     defendant        NATIVIDAD

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             Case 3:19-cr-04445-H Document 13 Filed 11/07/19 PageID.18 Page 3 of 3




    1                                    ,    upon convic ion,      or ei

    2   all his rights, title and interest in any and all property constituting,

    3   or   derived       from,   any       proceeds    the   defendant    obtained,   directly     or

    4   indirectly, as the result of the offense, and any and all property used

    5   or intended to be used in any manner or part to commit and to facilitate

    6   the commission of the violation alleged in Count 2 of this Information.

    7          4.     If    any    of   the    above-described      forfei table   property,    as    a

    8   result of any act or omission of the defendant:

    9                a.       cannot be located upon the exercise of due diligence;

10                   b.       has been transferred or sold to,               or deposited with,       a

11      third party;

12                   c.       has been placed bayond the jurisdiction of the Court)

13                   d.       has been substantially diminished in value; or

14                   e.       has been commingled with other property which cannot be

15      subdivided without difficulty;

16      it is the intent of the United States,                    pursuant to Title 21,        United

17      States Code,        Section 853(p),        to seek forfeiture of any other property

18      of the defendant up to the value of the property listed above as being

19      subject to forfeiture.

20             All in violation of Title 18, United States Code,                   Section 924(d),

21      Title 28,      United States Code,              Section 2461 (c),    and Title 21,     United

22      States Code, Section 853.

23      DATED:      November 7, 2019.

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27                                                                       J. SUTTON
                                                                 OWEN ROTH
28                                                               Assistant U.S. Attorneys
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